      Case 6:23-cv-00321-ADA       Document 69     Filed 03/22/24   Page 1 of 2




                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                          WACO DIVISION
ALBERT (TRE) C. BLACK III, UNITED         §
STATES SECURITIES AND EXCHANGE            §      CIVIL NO:
COMMISSION                                §      WA:23-CV-00321-ADA
                                          §
vs.                                       §

ROY W. HILL, ERIC N. SHELLY, CLEAN
ENERGY TECHNOLOGY ASSOCIATION,
INC, FREEDOM IMPACT CONSULTING,
LLC

      ORDER CANCELLING ZOOM HEARING TO CONSIDER
                  CONFIRMATION OF
               THE SALE OF REAL ESTATE
       IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for ZOOM HEARING TO CONSIDER CONFIRMATION OF
THE SALE OF REAL ESTATE on Tuesday, March 26, 2024 at 11:00 AM is hereby
CANCELLED until further order of the court.

       IT IS SO ORDERED this 22nd day of March, 2024.




                                          ______________________________
                                          ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE
Case 6:23-cv-00321-ADA   Document 69   Filed 03/22/24   Page 2 of 2
